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                                                             THE HONORABLE THOMAS S. ZILLY
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 6
                                         UNITED STATES DISTRICT COURT
 7                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT SEATTLE
 8
       PACIFIC BELLS, LLC; BRUNSWIKST,
 9     LLC; and WOW DISTRIBUTING, INC., on
       their own behalf and on behalf of similarly
10     situated employers,                                   No. 2:21-cv-01515-TSZ
11              and                                          PLAINTIFFS’ SUPPLEMENTAL BRIEF
12     MELISSA JOHNSTON; LENA MADDEN;
       JUDI CHAPMAN; KATHERINE SOLAN;
13     JOHN EDMUNDSON; and MIKE LINDBO,
       individuals on their own behalf and on behalf
14     of similarly situated employees,
15                                       Class Plaintiffs,
16              v.
17     JAY INSLEE, in his capacity as Governor of
       the State of Washington; CAMI FEEK, in her
18     capacity as the Commissioner and Chief
       Executive Officer of the Washington
19     Employment Security Department; DONALD
       CLINTSMAN, in his capacity as the Acting
20     Secretary of the Washington Department of
       Social and Health Services; and THE LONG-
21     TERM SERVICES AND SUPPORTS TRUST
       FUND, an employee benefit plan,
22
                                         Defendants.
23

24           This Supplemental Brief addresses the four issues raised by the Court.
25
   (A)   Which party bears the burden of establishing the number of individuals against
26 whom Long-Term Services and Supports Trust Program (also known as “WA Cares”)
   premiums will be assessed?
27

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 1            Defendants raised the Tax Injunction Act (TIA) as a defense to Plaintiffs’ claims.

 2 Accordingly, Defendants have the burden of proof for facts necessary to resolve that defense.

 3            At present, Defendants raise the TIA as part of a facial challenge on a motion to dismiss.

 4 In that context, the Court must draw all reasonable inferences in favor of Plaintiffs and accept

 5 Plaintiff’s factual allegations in the Compliant as true. See Wolfe v. Strankman, 392 F.3d 358,

 6 362 (9th Cir. 2004). In addition, as Defendants raised a facial challenge in their motion to

 7 dismiss with no factual numbers, Plaintiffs have no additional burden to produce evidence.

 8 (B)      How many individuals are (i) anticipated to be subject to WA Cares premiums on or
 9 after July  1, 2023; (ii) expected to be exempt as of July 1, 2023; (iii) have already applied or
   are expected to apply for exemption from the assessment of WA Cares premiums for each
10 of the potential reasons set forth in RCW Chapter 50B.04 and Laws of 2022, ch. 2, § 2;
   (iv) self-employed in Washington; and (v) predicted to elect coverage pursuant to RCW
11 50B.04.090?

12            At this stage of the litigation, where the parties are still engaged in discovery, Plaintiffs

13 can offer only preliminary answers to some of these questions based on information and

14 documents provided by Defendants. Plaintiffs believe that answers to these questions will

15 become clearer after the parties have had a full opportunity to complete discovery.

16            (i)       More than 3.277 million individuals are anticipated to be subject to WA Cares

17 premiums on or after July 1, 2023. In the December 14, 2020, Milliman Report, the actuarial

18 study commissioned by the Office of the State Actuary to provide an actuarial analysis of WA
19 Cares, the estimated number of “Vested Individuals” as of 2025 is 3,277,000. Declaration of

20 Richard Birmingham (“Birmingham Decl.”), Ex. A, 43-44. According to the report, a “Vested

21 Individual” is an employee that has paid into WA Cares for three years, which would require an

22 individual began paying into WA Cares in 2022.1 Birmingham Decl., Ex. A, 35. Since

23 additional employees beyond those “Vested Individuals” will be paying into WA Cares (e.g.

24 employees who are not yet “vested”), Plaintiffs posit that the number of individuals anticipated

25 to be subject to WA Cares premiums on July 1, 2023, is necessarily more than 3.277 million.

26   1
       Recent legislation delayed implementation until 2023, which the December 2020 Milliman Report does not
27   consider. However, for purposes of estimating the number of people likely subject to the program, Plaintiffs believe
     these figures still provide a reliable estimate.
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 1            (ii)      Plaintiffs do not have a clear answer to the total number of individuals who may

 2 be exempt as of July 1, 2023. Plaintiffs have information regarding the following exemptions,

 3 but additional discovery will be required to ascertain the total number of employees that may be

 4 exempted (particularly for recently-passed exemptions):

 5                  Exemption applications approved by ESD: 470,442 (as of January 20, 2022),

 6                   Birmingham Decl., Ex. B, 20 (Defendants’ Response to Interrogatory No. 8).

 7                  Residents of border states working in Washington: approximately 150,000,

 8                   Birmingham Decl., Ex. C, 6 (noting that approximately 150,000 out-of-state residents

 9                   would have been required to pay WA Cares premiums beginning in 2022, and

10                   “affect[ing] more in the decades to come).

11                  Other exemptions: Plaintiffs do not have information regarding the number of

12                   additional individuals who may be exempted under other exemptions to WA Cares.

13                   Plaintiffs believe additional discovery could clarify those numbers.

14            (iii)     As of September 30, 2021, ESD projected it would receive 311,000 applications

15 for exemptions. As of January 20, 2022, ESD had actually received 474,265 applications. And

16 as of January 20, 2022, ESD had approved 470,442 applications. (3,823 applications remain not

17 approved as of January 20, 2022.) Birmingham Decl., Ex B, 19-20 (Defendants’ Response to

18 Interrogatory No. 8).
19            (iv)      Plaintiffs believe Defendants are in a superior position to provide evidence about

20 the number of self-employed individuals in Washington. Again, discovery is ongoing and

21 Plaintiffs believe the answer to this question will be clearer with time to conduct additional

22 document discovery and send supplemental interrogatories.

23            (v)       As with (iv), above, Plaintiffs believe Defendants are in a superior position to

24 provide evidence about the number of self-employed individuals predicted to elect coverage

25 pursuant to RCW 50B.04.090.

26 (C)   Whether, in light of Laws of 2022, ch. 2, § 2, the claims of plaintiff Melissa Johnston,
27 who resides in Eagle Point, Oregon, but apparently works in Washington, and who is now

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   eligible for an exemption from WA Cares premiums, should be dismissed with prejudice
 1 for lack of standing and/or on the merits?

 2            Plaintiffs agree that the subset of the right to travel/Equal Protection Clause/Privileges
 3 and Immunities Clause claim asserted by out-of-state residents who are working in Washington

 4 is now moot. Plaintiffs’ proposed amended complaint will withdraw those claims.

 5            Melissa Johnston is still an appropriate party to this action. Ms. Johnston was born after
 6 January 1, 1968, and may move to the State of Washington within ten years of retirement. If she

 7 moves to Washington within ten years of retirement and does not contribute for ten years, her

 8 benefit will be forfeited. Similarly situated older individuals who reside in other states and move
 9 to Washington later in their career will have a similar forfeiture. Plaintiffs intend to clarify these

10 allegations in their proposed amended complaint.

11
   (D)      Whether WA Cares meets the definition of an “employee benefit plan,” as defined
12 by  the Employee     Retirement Income Security Act; see 29 U.S.C. §§ 1002(1)–(3) (requiring
   that an “employee benefit plan” be “established or maintained by an employer or by an
13 employee organization or by both”); see also 29 U.S.C. §§ 1002(4)&(5) (defining
   “employer” and “employee organization”)?
14
            WA Cares is an employee welfare plan in that it provides medical benefits and benefits in
15
   the event of sickness, accident, and disability. RCW 48.83.020(5) defines long-term care
16
   insurance as a policy, practice, or program that provides coverage for one or more medically
17
   necessary diagnostic, preventive, therapeutic, rehabilitative, maintenance, or personal care
18
   services, provided in a setting other than an acute care unit of a hospital. Given the statutory
19
   definition and the requirement that the recipient must be unable to perform certain basic
20
   activities of daily living, there is little doubt that some of the care a recipient receives is medical
21
   care, as the statute specifically provides for reimbursement of professional services, nursing
22
   home services, assisted living services, and memory care. RCW 50B.04.010(2). Schneider v.
23
   UNUM Life Ins Co. of Am., 149 F. Supp. 2d 169, 175-76 (E.D. Pa. 2001) (holding that union-
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   sponsored long term care to be an ERISA welfare benefit plan providing medical, surgical, or
25
   benefits in the event of sickness). Also, under federal law, long term care, including long term
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 1 care that is maintained by a State, is classified as a health insurance contract and, thus, a welfare

 2 plan. See 26 U.S.C. §§ 7702B(a)(1), 7702B(f).

 3              ERISA covered plans must be established or maintained by the employer, or an employee

 4 organization, or both. 29 U.S.C. § 1003(a)(1)-(3). In the instant case, WA Cares is established

 5 and maintained by the State for its employees as all State of Washington employees are eligible

 6 to participate. In Howard Jarvis Taxpayers Association v. California Secure Choice Retirement

 7 Savings Program, 997 F.3d 848, 860 (9th Cir. 2021), the CalSavers IRA program was

 8 established or maintained by the state, but not as an employer since its employees were not
 9 eligible to participate in the program. Id., Cal. Gov’t. Code § 100000(c)(1), (d) (CalSavers is

10 required for employers who did not maintain a retirement plan and the state of California, of

11 course, maintains a retirement plan, CalPers, for its employees). In contrast, Washington State

12 employees are required to participate in WA Cares, so under Howard Jarvis the state has

13 established and maintained a plan as an employer for its employees.

14              Despite the fact that the WA Cares is established and maintained by the State for its

15 employees, WA Cares is not exempt from ERISA as a governmental plan. 29 U.S.C.

16 § 1003(b)(1). The governmental plan exemption applies only if the plan is maintained by the

17 state only for its employees and not for employees in general. 29 U.S.C. § 1002(32). If there is

18 more than a de minimis participation by non- state employees, the governmental exemption does
19 not apply. U.S. DEP’T. OF LABOR ADVISORY OP. 2012-01A, April 27, 20122 (a plan that covers a

20 substantial number of private employees as well as governmental employees is not a

21 Governmental Plan); U.S. DEP’T. OF LABOR ADVISORY OP. 95-27A, Nov. 8, 19953 (if a benefit

22 arrangement is extended to more than a de minimis number of private employees the

23 governmental exemption is lost). See also Navlet v. Port of Seattle, 164 Wn.2d 818, 194 P.3d

24 221, 229 (2008) (governmental exemption will apply when only a de minimis number of private

25 employees are included in the Plan).

26
     2
27       https://www.dol.gov/agencies/ebsa/about-ebsa/our-activities/resource-center/advisory-opinions/2012-01a.
     3
         https://www.dol.gov/agencies/ebsa/about-ebsa/our-activities/resource-center/advisory-opinions/1995-27a.
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 2            DATED this 31st day of March, 2022.

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 1                                      CERTIFICATE OF ELECTRONIC SERVICE

 2            I hereby certify that on March 31, 2022, I caused the foregoing to be electronically filed

 3 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 4 to those attorneys of record registered on the CM/ECF system. All other parties (if any) shall be

 5 served in accordance with the Federal Rules of Civil Procedure.

 6
              DATED this 31st day of March, 2022.
 7

 8
 9                                                   Susan Bright

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